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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA,                         )
                                                  )
                v.                                )           Criminal No. 4:19-cr-172
                                                  )
RUBY MONTOYA,                                     )           GOVERNMENT’S SENTENCING
                                                  )           EXHIBIT LIST
                Defendant.                        )

        The United States of America, by and through the undersigned counsel respectfully submits

the following list of exhibits which may be introduced in the government’s case-in-chief. This list

may not include exhibits which may be introduced, depending in part upon issues which may arise

during the sentencing hearing, and the government reserves its right to offer exhibits not on this

list as necessary.

 Exhibit #           Exhibit Name

 Gov Ex 1            Via Pacis - April 2017 - one page .pdf

 Gov Ex 2            Youtube interview of Reznicek and Montoya and Video of vandalism.mp4

 Gov Ex 3            DGR Reznicek This is easy to do.mp3

 Gov Ex 4            Facebook train blockage.PNG

 Gov Ex 5            Iowa City Aug Library Event Reznicek.mp4

 Gov Ex 5A           Iowa City Aug Reznicek How to stop a pipeline.mp4

 Gov Ex 5B           Iowa City Aug Reznicek To share and encourage tactics.mp4

 Gov Ex 5C           Iowa City Aug Montoya Go and take risks.mp4

 Gov Ex 5D           Iowa City Aug Montoya It ain't no big deal.mp4

 Gov Ex 5E           Iowa City Aug Montoya This works.mp4

 Gov Ex 5F           Iowa City Aug Montoya You can do this and not get caught.mp4
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Exhibit #    Exhibit Name

Gov Ex 5G    Iowa City Aug Montoya You don't need a workshop.mp4

Gov Ex 6-1   1 Minneapolis_Part 1.mp4

Gov Ex 6-2   2 Minneapolis Part 2.mp4

Gov Ex 6A    Minneapolis Reznicek Consider Prop Dest.mp4

Gov Ex 6B    Minneapolis Reznicek FBI Needs.mp4

Gov Ex 6C    Minneapolis Reznicek Feds don't have much.mp4

Gov Ex 6D    Minneapolis Reznicek Mask up.mp4

Gov Ex 6E    Minneapolis Montoya We didn't get caught.mp4

Gov Ex 7     Submedia Reznicek Montoya Trying to encourage others.mp3

Gov Ex 8     Jasper Cty Construction Equipment .pdf

Gov Ex 9     Jasper Cty Construction Equipment .pdf

Gov Ex 10    Jasper Cty Construction Equipment .pdf

Gov Ex 11    Mahaska Cty Construction Equipment .pdf

Gov Ex 12    Mahaska Cty Construction Equipment .pdf

Gov Ex 13    Mahaska Cty Construction Equipment .pdf

Gov Ex 14    Jasper Cty Construction Equipment .pdf

Gov Ex 15    Jasper Cty Construction Equipment .pdf

Gov Ex 16    Jasper Cty Construction Equipment .pdf

Gov Ex 17    Jasper Cty Construction Equipment .pdf

Gov Ex 18    Jasper Cty Construction Equipment .pdf

Gov Ex 22    Buena Vista Cty Construction Equipment .pdf

Gov Ex 23    Buena Vista Cty Construction Equipment .pdf
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Exhibit #    Exhibit Name

Gov Ex 24    Buena Vista Cty Construction Equipment .pdf

Gov Ex 25    Mahaska Cty Pipeline Valve .pdf

Gov Ex 26    Mahaska Cty Pipeline Valve .pdf

Gov Ex 27    Cherokee Cty Pipeline Valve .pdf

Gov Ex 28    Cherokee Cty Pipeline Valve .pdf

Gov Ex 29    Cherokee Cty Pipeline Valve .pdf

Gov Ex 30    Sioux Cty Pipeline Valve .pdf

Gov Ex 31    Sioux Cty Pipeline Valve .pdf

Gov Ex 32    Sioux Cty Pipeline Valve .pdf

Gov Ex 33    Sioux Cty Pipeline Valve .pdf

Gov Ex 34    Sioux Cty Pipeline Valve .pdf

Gov Ex 35    Lincoln Cty Pipeline Valve .pdf

Gov Ex 36    Lincoln Cty Pipeline Valve .pdf

Gov Ex 37    Lincoln Cty Pipeline Valve .pdf

Gov Ex 38    Boone Cty Pipeline Valve .pdf

Gov Ex 39    Boone Cty Pipeline Valve .pdf

Gov Ex 40    Boone Cty Pipeline Valve .pdf

Gov Ex 41    Wapello Cty Pipeline Valve .pdf

Gov Ex 42    Wapello Cty Pipeline Valve .pdf

Gov Ex 43    Wapello Cty Pipeline Valve .pdf

Gov Ex 44    Wapello Cty Pipeline Valve .pdf

Gov Ex 45    Wapello Cty Pipeline Valve .pdf
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Exhibit #    Exhibit Name

Gov Ex 46    Buena Vista Cty Pipeline Valve .pdf

Gov Ex 47    Buena Vista Cty Pipeline Valve .pdf

Gov Ex 48    Buena Vista Cty Pipeline Valve .pdf

Gov Ex 49    Minnehaha Cty Pipeline Valve .pdf

Gov Ex 50    Minnehaha Cty Pipeline Valve .pdf

Gov Ex 51    Wapello Cty Pipeline Valve .pdf

Gov Ex 52    Wapello Cty Pipeline Valve .pdf

Gov Ex 53    Public Confession .pdf

Gov Ex 54    Public Confession .pdf

Gov Ex 55    Search Warrant .pdf

Gov Ex 56    Search Warrant .pdf

Gov Ex 57    Search Warrant .pdf

Gov Ex 58    Search Warrant .pdf

Gov Ex 59    Search Warrant .pdf

Gov Ex 60    Search Warrant .pdf

Gov Ex 61    Search Warrant .pdf

Gov Ex 62    Search Warrant .pdf

Gov Ex 63    Search Warrant .pdf

Gov Ex 64    IUB Reznicek Worth Going to Prison.mp4

Gov Ex 65    Energy TransferVIS Corporate Victims.pdf
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Exhibit #    Exhibit Name


Gov Ex 70    Restitution Summary

Gov Ex 71    Damage 11-8-2016 Vandalism (1313)

Gov Ex 72    Damage 11-8-2016 Vandalism (11302)

Gov Ex 73    Damage 11-8-2016 Vandalism (12736)

Gov Ex 74    Damage 11-8-2016 Vandalism (R004760)

Gov Ex 75    Damage Pipeline Repairs Vandalism (March - April 2017)


Gov Ex 80    Transcript of Proffer Interview 1-21-21 - Under seal

Gov Ex 81    Transcript of Proffer Interview 5-12-21 - Under seal

Gov Ex 82    Transcript of Proffer Interview 7-30-21 - Under seal

Gov Ex 83    Transcript of Proffer Interview 11-5-20 - Under seal

Gov Ex 84    Grand Jury Testimony of 1-21-21 - Under seal




                                                  Respectfully submitted,

                                                  Richard D. Westphal
                                                  United States Attorney


                                              By: /s/ Jason T. Griess
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CERTIFICATE OF SERVICE

I hereby certify that on September 21, 2022, I
electronically filed the foregoing with the
Clerk of Court using the CM ECF system. I hereby
certify that a copy of this document was served
on the parties or attorneys of record by:

     U.S. Mail         Fax     Hand Delivery

  X ECF/Electronic filing       Other means


UNITED STATES ATTORNEY

By: /s/ Dawn Thomas
      Paralegal Specialist
